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5
     Attorney for Defendant
6    DANIEL PLANCARTE-VALDOVINOS
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   NO. 1:05-Cr-00221 AWI
                                                    )
12                         Plaintiff,               )   STIPULATION CONTINUING CHANGE OF
                                                    )   PLEA HEARING AND ORDER THEREON
13          v.                                      )
                                                    )   Date: March 27, 2006
14   DANIEL PLANCARTE-VALDOVINOS,                   )   Time: 9:00 A.M.
                                                    )   Judge: Hon. Anthony W. Ishii
15                         Defendants.              )
                                                    )
16                                                  )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel that the change of plea hearing now set for March 13, 2006, may be continued to March 27,
20   2006, at 9:00 A.M.
21          This continuance is sought at the request of counsel for defendant to allow additional time for
22   case preparation.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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1            The parties agree that the delay resulting from the continuance shall be excluded in the interests
2    of justice, including but not limited to, the need for the period of time set forth herein in the interest of
3    justice and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and
4    3161(h)(8)(B)(i) and (iv).
5                                                                  McGREGOR W. SCOTT
                                                                   United States Attorney
6
7    DATED: March 9, 2006                                     By: /s/ Kimberly A. Kelly
                                                                  KIMBERLY A. KELLY
8                                                                 Assistant United States Attorney
                                                                  Attorney for Plaintiff
9
10                                                                 DANIEL J. BRODERICK
                                                                   Acting Federal Public Defender
11
12   DATED: March 9, 2006                                     By: /s/ Francine Zepeda
                                                                  FRANCINE ZEPEDA
13                                                                Assistant Federal Defender
                                                                  Attorneys for Defendant
14                                                                DANIEL VALDOVINOS-PLANCARTE
15
16                                                    ORDER
17           IT IS SO ORDERED. Time is excluded in the interest of justice and for effective defense
18   preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(8)(B)(i) and (iv).
19
20
21   IT IS SO ORDERED.
22   Dated:      March 10, 2006                          /s/ Anthony W. Ishii
     0m8i78                                        UNITED STATES DISTRICT JUDGE
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     Stipulation Continuing Change of Plea
     Hearing and [Proposed] Order Thereon                 -2-
